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                           UNITED STATES DISTRICT COURT
                       DISTRICT OF IDAHO (NORTHERN DIVISION)

CODY J. SCHUELER, an individual,

                       Plaintiff,              Case No. 2:22-cv-00389-DCN

      v.
                                                MEMORANDUM IN SUPPORT OF
FOUR SQUAREBIZ, LLC, a Wyoming                  PLAINTIFF’S MOTION FOR LEAVE
limited liability company, KEITH O.             TO FILE OVERLENGTH BRIEF
CREWS, an individual and the associated
marital community, MICAH EIGLER, an
individual and the associated marital
community, and JOHN AND JANE DOES
1-10,

                       Defendants.


      COMES NOW, Plaintiff CODY J. SCHUELER, by and through his attorneys of record,

Andrew M. Wagley and Samir Dizdarevic-Miller of Etter, McMahon, Lamberson, Van Wert

& Oreskovich, P.C., and hereby respectfully submits the following Memorandum in Support

of Plaintiff’s Motion for Leave to File an Overlength Memorandum in Support of Plaintiff’s

Motion for Default Judgment.




   Memorandum in Support of Plaintiff’s          ETTER, MCMAHON, LAMBERSON,
   Motion for Leave to File Overlength           VAN WERT & ORESKOVICH, P.C.
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                                          BACKGROUND

      In this commercial lawsuit, Plaintiff Cody J. Schueler entered into three Bitcoin Loan

Agreements with Defendants Four SquareBiz, LLC (“Four SquareBiz”), Keith Crews, and

Micah Eigler, each of which agreements were accompanied by Personal Guaranties executed

by Defendants Crews and Eigler. (See ECF No. 1.) Pursuant to the three Agreements, Mr.

Schueler loaned Defendants a total $938,967.55 for the purposes of investing in a purportedly

new form of cryptocurrency, referred to as “Dstem Coin.” (See Id. at 4.) Defendants did not

perform under any of the three Agreements and never repaid Mr. Schueler the amount he

loaned them. Plaintiff filed this suit against Defendants on September 12, 2022. (See id.) All

Defendants are in Default. (ECF No. 22; ECF No. 27.)

                                  POINTS & AUTHORITIES

      L. Civ. R. 7.1 governs motion practice, including the length of briefing. L. Civ. R.

7.1(a)(2) provides, in relevant part:

      No memorandum of points and authorities in support of or in opposition to a
      motion may exceed twenty (20) pages in length, nor may a reply brief exceed ten
      (10) pages in length, without express leave of the Court which will be granted
      only under unusual circumstances.

L. Civ. R. 7.1(a)(2).

      In the situation at hand, unusual circumstances exist to allow Plaintiff to submit an

overlength Memorandum in Support of Plaintiff’s Motion for Default Judgment for the

following reasons.

      First, the underlying facts and multiple contracts between the parties are complex. This

matter involves three Agreements and multiple Personal Guarantees entered into by the



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parties on the basis of Defendants’ fraud and inducement of Plaintiff, as well as Defendants’

breaches of each Agreement due to their nonperformance. Second, analysis of the seven,

“Eitel Factors” is necessary for the Court’s consideration of whether to enter Default

Judgment against Defendants.           While such analysis is ordinarily extensive, it is further

complicated here, where there are multiple defendants. Analysis under the Eitel Factors needs

to be performed as to both Defendants Four SquareBiz and Crews. Moreover, Plaintiff has

six substantive claims against Defendant Crews and four substantive claims against Four

SquareBiz.       Under the Eitel Factors, the merits of each claim are considered, which

additionally expands the amount of requisite analysis. Third, Mr. Schueler’s claims implicate

Defendant Crews’ marital community, because the subject Agreements and Personal

Guarantees are governed by the State of Idaho. This issue requires a choice of law analysis to

be conducted. Finally, because Defendant Eigler is in Bankruptcy, analysis supporting why

Default Judgment may be entered against the other defendants, but not Defendant Eigler, is

also required.

        Due to the above reasons, despite best efforts to comply with L. Civ. R. 7.1(a)(2)’s

length requirements, counsel has been unable to reduce its current Memorandum in Support

of Plaintiff’s Motion for Default Judgment to twenty pages.                      Accordingly, Plaintiff

respectfully requests leave to file the aforementioned brief at a length not to exceed twenty-

five pages.

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     Memorandum in Support of Plaintiff’s               ETTER, MCMAHON, LAMBERSON,
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   RESPECTFULLY SUBMITTED this 26th day of July, 2023.

                                       ETTER, McMAHON, LAMBERSON,
                                         VAN WERT & ORESKOVICH, P.C.


                                       By:     /s/ Andrew M. Wagley
                                             Andrew M. Wagley, ISB #10277
                                             Samir Dizdarevic-Miller, ISB #11471
                                             Attorneys for Plaintiff Cody J. Schueler




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